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              Avoiding 'ghost town': Saving
              Alabama's rural hospitals becoming a
              top campaign concern
              Updated Sep 3, 2018;
              Posted Sep 2, 2018




                            Southwest Alabama Medical Center in
                            Thomasville, Ala., closed its doors to
                            patients in August 2011. The hospital is one
                            of ﬁve rural hospitals in Alabama which
                            have closed since 2010, and oﬃcials
                            anticipate more closures coming if
                            solutions to a growing crisis are not
                            addressed. In Thomasville, local leaders
                                                                                                                                1
                            have overseen the ﬁnances to build a new
                            hospital in the Clarke County community of
                            4,000 people. It will open in August 2019,


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                            anchored by a 1-cent sales tax increase.
                            (ﬁle photo).


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              By John Sharp , jsharp@al.com

              Confederate statues, the Ten Commandments, legalized
              gambling: They're tried-and-true political hot-buttons in the
              Alabama of recent times.

              A discussion about Alabama's sickly rural hospitals is more
              nuanced and much less sexy. But, as more of the hospitals
              struggle to keep the lights on, there soon may be no
              avoiding it.

              The state has had few resources, and few answers, to stop
              the bleeding: Five smaller towns have seen hospitals shut
              down just since 2010, among 87 such closures nationally.

              And several other communities have had close calls. In
              Haleyville, Thomasville and Camden, local leaders jumped
              in to increase sales taxes to stabilize hospital books or to
              get new hospitals up and running to replace ones that gone
              dark.

              In Sumter and Chilton counties, voters themselves green-
              lighted new sales taxes for hospitals, decisions that won
                                                                        1
              wider attention simply because of the Alabama electorate's
              well-known aversion to tax increases of any kind.



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              But politicians will tell you that, in much of rural Alabama,
              hospitals are community bedrocks. If it's abandoned and
              empty, what does that say about the community's own
              future?

              "When an area is suddenly without a hospital, the chances
              of becoming a ghost town are signiﬁcantly increased unless
              local leaders and legislators unite to address it," said state
              Rep. Randall Shedd, R-Cullman. "And even then, they need
              the state to be a partner."




              Alabama has proven to be a diﬃcult landscape for rural
              hospitals, underscored by Medicaid reimbursement rates
              that remain among the lowest in the country.

              Almost all of the state's rural hospitals are cash-strapped,
              and operating with deﬁcits. The alarming facts are reﬂected
              in an Alabama Hospital Association survey of hospital CEOs
              two years ago. Among the ﬁndings:                            1

                     88 percent of the rural hospitals were operating in the
                     red, meaning revenue received for patient care wasn't
                     enough to cover the cost of care.
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                     The vast majority of hospitals were keeping their heads
                     above water thanks to investment income and charitable
                     donations. But a quarter of the hospitals had
                     encountered slippage charitable donations.
                     63 percent were treating larger numbers of uninsured
                     patients. And 48 percent reported an increase in
                     Medicaid - or low-income - patients.
                     72 percent were seeing more patients ﬂowing into
                     emergency rooms, a high-cost activity for hospitals to
                     shoulder. Meanwhile, 53 percent had experienced a drop
                     in regular inpatient admissions.

              "If all things stay the same, I predict our hospitals won't
              make it through next year," said Danne Howard, chief policy
              oﬃcer with the Alabama Hospital Association, which is
              launching a campaign next week in support of expanding
              Medicaid through the 2010 Aﬀordable Care Act, better
              known as "Obamacare."

              Said Howard, "I've been with the hospital association 23
              years and have never seen things so fragile as they are
              now."

              Political solutions

              The Medicaid expansion question is entering the state's
              2018 election arena as well.

              In the gubernatorial race, Democratic nominee Walt                                                                1
              Maddox promises to expand Medicaid on "Day 1." His
              pledge: Call a special session and unveil a ﬁnancial plan to
              pay for the expansion, as well as addressing other issues
              his campaign is talking about, such as a lottery.
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              Medicaid expansion is also likely to surface in the 2020
              race for U.S. Senate: Sen. Doug Jones, D-Birmingham,
              favors it, while his possible Republican opponent, U.S. Rep.
              Bradley Byrne, R-Fairhope, says the state would have to up
              taxes to do so.

              But both Jones and Byrne are advocating for changes in the
              wage index, which is a formula that determines
              reimbursements from Medicare, and has left Alabama's
              hospitals with the lowest reimbursement rate in the
              country.

              Byrne said the current system favors urban hospitals. He
              said, "It's a 20 percent discrepancy. You can be at South
              Baldwin (Regional Medical Center in Foley) and get an MRI
              and the hospital will be reimbursed 20 percent less than a
              hospital in Pensacola. That doesn't make any sense at all."




              In the gubernatorial race, Maddox is starting to make                                                             1
              Medicaid expansion a central theme during speeches.
              "Funding for all hospitals depends primarily on insurance
              reimbursements," said Chip Hill, Maddox's campaign
              spokesman. "Medicaid expansion adds a major layer of
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              insurance coverage and reimbursements for patients who
              currently don't qualify for Medicaid yet cannot in reality
              aﬀord insurance. Their treatments are not reimbursed,
              which adds enormous strains to hospital budgets."




                                 Democratic gubernatorial candidate Walt
                                 Maddox talks with supporters during a
                                 meet and greet Saturday, August 18,
                                 2018, in Brewton, Ala. (Mike
                                 Kittrell/AL.com)


              Maddox, if elected, would face a diﬃcult situation in
              pushing a Medicaid expansion through the Republican
              Legislature unless he ﬁnds the revenue sources to
              compensate for the new expense.

              Expansion talks have gone nowhere, thus far, at the
              Statehouse. In 2016, lawmakers dipped into the state's BP 1
              oil spill settlement to patch an already-existing $85 million
              Medicaid funding gap.


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              Former Gov. Robert Bentley once pegged the Medicaid
              expansion cost at around $710 million for six
              years. Alabama is one of 14 states that have opted not to go
              along with the expansion.

              Hill did not dive into details of the Maddox team's funding
              plan, other than to say it, along with a state lottery and
              legalized gambling, would be revealed at a special session.
               "Watching hospitals close around the state -- and several
              communities entertaining new taxes to keep their local
              hospitals open -- is all the information we need to know it's
              long past time to take action," he said.




              Maddox's opponent, Republican Gov. Kay Ivey, has
              assembled a three-member team that will produce a report
              recommending ways to address rural health woes. This
              working group has been traveling the state and meet with
              health professionals and to gather information. There is no
              timetable on when the report will be ﬁnished.               1


              The team includes Medicaid Commissioner Stephanie Azar,
              Alabama's Health Oﬃcer Dr. Scott Harris, and David White,
              senior policy adviser to Ivey.
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                                 Alabama Gov. Kay Ivey will await a report
                                 back from a three-member team that is
                                 examining Alabama's rural health
                                 concerns. (ﬁle photo)


              "This is a very complex issue that touches and aﬀects many
              components of the healthcare system in Alabama," said
              Azar. "As more information is obtained on the struggles
              facing rural healthcare, it is our goal to consider potential
              solutions to address this important issue."

              Thus far, the Ivey administration has proposed new work
              requirements for some able-bodied Medicaid recipients, a
              move that would require federal approval, and would aﬀect
              only a small fraction of Medicaid recipients.

              But it's a similar strategy that is playing out in conservative
              states that have yet to expand Medicaid under ObamaCare.1
              States which have passed Medicaid expansion -- Arkansas,
              Indiana and New Hampshire -- have federally-approved



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              work requirement waivers in place. Non-expansion states --
              like Utah, Mississippi, South Carolina, Tennessee, and
              others -- want to require recipients to work.




              The federal government gave Kentucky permission in
              January to impose work-related requirements for Medicaid,
              but a judge blocked the program in June. The Republican
              governor is now considering eliminating the expansion, and
              saving the state $300 million.

              "Alabama would be following in a ﬁne tradition of reﬂecting
              on the common judgement of what is fair by putting a
              requirement in there," said Len Nichols, a health economist
              at George Mason University's Center for Health Policy
              Research and Ethics and the former health care adviser to
              President Bill Clinton. "The question becomes, 'Can you
              make the requirements and judgements reasonable?' I
              believe there are quite a few cases that there are. But that
              is the thing it could take to help more people to get access 1
              to health care."

              Legislative solutions

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              Alabama Republican lawmakers, especially those
              representing rural constituents in areas where hospitals are
              facing ﬁnancial distress, say the work-related requirements
              are important. They anticipate the fate of rural hospitals
              becoming a hot topic of discussion and debate during the
              2019 legislative session.

              "We need to make it a priority to put people to work and
              hopefully for people to come oﬀ Medicaid rather than put
              people on it," state Rep. David Standridge, R-Hayden, and
              chairman of the House Rural Caucus, said.




              According to The Henry J. Kaiser Family Foundation, only 6
              percent of those on Medicaid would have to get a job or
              participate in training or volunteer activities to meet the
              new work-requirement rules pushed in states like Alabama.
              Of those on Medicaid, 43 percent are working full-time and
              19 percent are working part-time, the group's research
              found.                                                      1


              Said Standridge: "I think that is the reason we have to do
              job training and all of these other things for people so they
              can get good-paying jobs and not just a working-poor job.
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              We need to look to the future to move those people out of
              that class."

              But Standridge and Shedd of Cullman, both say that all
              options on rural health care remain "on the table." Shedd
              noted that in Georgia, which has not adopted an expansion
              of Medicaid, state lawmakers endorsed a bill authorizing
              the concept of "micro-hospitals." This program allows that
              if a hospital in a county of fewer than 50,000 people closed
              or is closing within 12 months, a neighboring hospital can
              buy the rights to operate it, but on a smaller scale.

              Media reports indicate that it's unclear how much interest
              there is in the program.

              "We'll see how that works out," said Shedd.

              Shedd said he believes the issue will be a priority for House
              leaders next spring. "I think the Legislature will be proactive
              this coming year and I expect legislators form rural areas to
              stick together to make sure solutions are found," he said.




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              Standridge said he's looking forward to the governor's
              report coming back to lawmakers, saying that it would be
              "good to hear a report about the state in general" and that
              it would be a good resource.

              But the report, according to the Hospital Association's
              Howard, should include plenty of references from hospital
              oﬃcials advocating for Medicaid expansion.

              It's unclear whether expanding Medicaid would
              be endorsed under Ivey's administration, if she's elected in
              November. Ivey's spokespeople did not respond to requests
              for comments.

              "That was the ﬁrst thing out of everyone's mouth when
              meeting with (Azar) and (Harris)," she said. "It was the No.
              1 thing that everyone brought up that could be one of the
              things that could help our rural hospitals survive."

              Howard admits that hospital administrators "don't have all
              the answers" when it comes to ﬁnding revenue sources to
              pay for it. Instead, they are advocating for the economic
              beneﬁts of expansion which includes boosts to the state
              budget, and improve the state's lagging rankings in obesity,
              infant mortality rates, among other issues.

              William Ferniany, CEO of the University of Alabama at
              Birmingham Health System, said there isn't a hospital
              administrator in the state who doesn't support Medicaid                                                        1

              expansion. But, he said, it's an issue that goes beyond the
              governor's race.


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              "It takes the Legislature to do it, you have to have $200
              million to fund it," said Ferniany. "More than anything we
              talk about, that will be needed to expand rural hospitals."

              For now, Ferniany and the UAB Hospital System are rolling
              out a new resource center that was approved by lawmakers
              last spring. The new center will support nonproﬁt, rural and
              public hospitals in the state that are facing economic
              pressures.

              But the legislation establishing the new center came
              without funding, and Ferniany said that staﬃng it will be
              important for lawmakers next year. He said it will take "less
              than $1 million" from the state.

              "It's designed to be a support structure," said Ferniany. "If a
              rural hospital is part of a large system like Community
              Health or with us, they will get (that support) anyway. But
              this is designed for community hospitals who are
              independent and need resources."                              1

              He added, "What happens in rural health care is critical
              because if (the state) hopes to attract good industry, they
              need a good health system. It's also the largest employer in
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              the community. And if you have an emergency, you need a
              place to go. You don't need a place two hours away."

              Local taxation

              Prospects of long drives to emergency rooms and acute
              medical facilities were what was keeping a worried
              Haleyville Mayor Ken Sunseri up until 4 a.m. some days. A
              year ago, the mayor was dealing with the likelihood that the
              59-bed Lakeland Community Hospital was shutting its
              doors.




              "We were 50 minutes to an hour and 10 minutes away to
              the closet emergency room," said Sunseri. "It was critical."

              Indeed, the Northwest Alabama city of slightly more than
              4,000 residents had to scramble and ﬁnd creative ﬁnancing
              mechanisms to aﬀord to keep Winston County's only
              hospital open.
                                                                                                                             1

              The process happened fast. In November 2017, the hospital
              announced its closure due to dwindling reimbursements.
              One month later, Haleyville leaders approved a 1-cent sales

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              tax, which Sunseri says will bring anywhere between
              $850,000 to $950,000 annually. The revenue is dedicated
              solely for the hospital: A loan repayment for purchasing the
              building, and a subsidy to pay for its operations.

              Voters in this conservative county where nearly 90 percent
              backed Donald Trump for president in 2016, didn't blink an
              eye about the tax, the mayor said.

              "We put it in place in January and it went into eﬀect in
              February," said Sunseri. "I did not receive one phone call
              over it. As a matter of fact, I've had people stop me at
              Walmart and the grocery store - and this is coming from
              people who have never support me before - telling me how
              much they appreciated the fact that we've done that."

              He added, "You have to realize, without a hospital, ﬁrst of
              all, workman's compensation goes through the roof. In
              order to recruit industry here, we need health care
              available. A hospital is a vital part of economic development
              and the sustainment of a community."




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              In Thomasville, a Clarke County city of 4,000 residents, a
              $36 million hospital is under construction and will open
              next August thanks, in large part, with a sales tax increase.
              The 1-cent hike will raise enough revenue to support the
              $19 million dedication the city made toward building a new
              hospital that replaces Southwest Alabama Medical
              Center, which closed in 2011.

              Thomasville Mayor Sheldon Day said that the closure had
              little to do with the low volume that harms rural hospitals
              nationwide. Instead, he said the issue had more to do with a
              "problem" with the medical center's former owner.

              "The day our hospital closed, it had 15 patients in it," said
              Day. "Most hospitals around us will tell you, 'Glory
              Hallelujah' if they had 15 patients a day. It's a diﬀerence set
              of circumstances."

              Day said his community simply could not wait for the state
              to decide if it was investing in rural health care. He also said
              the days of the "little private provider" operating a rural
              hospital in Alabama without government help "is a thing of
              the past."

              Said Day: "Whether folks agree with what we are doing or
              not, I hope we can have some consideration that we are at
              least not sitting down and waiting on the state and federal
              government to do something."
                                                                                                                             1




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              But in Wilcox County, which is the poorest county in
              Alabama and among the poorest in the country, a 1-cent
              sales tax to keep J. Paul Jones Hospital in Camden aﬂoat is
              "a burden," according the County Commissioner John
              Moulton.

              "We had no choice," said Moulton. "We'd deﬁnitely love to
              receive some help especially with our hospital so we can
              take this regressive tax oﬀ the books."

              Wilcox County adopted a 1-cent sales tax to keep the
              hospital open after its acute care facility targeted for
              closing in 2017.

              "I'd love to see the Legislature step up and do more for a
              rural hospital," said Moulton. "The Medicaid expenses really
              hurt the communities like ours."

              Moulton said he would like to see Ivey, a Wilcox County
              native, "step up" on the issue and roll out a plan. Otherwise,
              he said, an annual $700,000 tax burden will continue in a
              county where 48 percent of youths under age 18 are below
              the federal poverty line.                                    1

              "There is really no reason why we shouldn't (expand
              Medicaid)," said Moulton. "It's life and death. That is what it
              boils down to."
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